
32 N.Y.2d 816 (1973)
The People of the State of New York, Respondent,
v.
Lou Bern Broadway, Inc., Appellant.
Court of Appeals of the State of New York.
Argued March 19, 1973.
Decided May 4, 1973.
O. John Rogge and Richard H. Rosenberg for appellants.
Frank S. Hogan, District Attorney (Michael R. Juviler and Arthur Weinstein of counsel), for respondent.
Roger Bennet Adler for New York State District Attorneys Association, amicus curiae.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order reversed and the information dismissed in the following memorandum: Assuming, without deciding, the power of the State to regulate public displays short of obscenity, we conclude that the displays in this case, as a matter of law, do not fall within the proscription of the statute. We, therefore, do not reach the constitutional question.
